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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

  AGRIGENETICS, INC. d/b/a MYCOGEN                 )
  SEEDS,                                           )
                                                   )
                 Plaintiff,                        )      Case No. 1:08-cv-0802-TWP-TAB
                                                   )
           vs.                                     )
                                                   )
  PIONEER HI-BRED INTERNATIONAL,                   )
  INC.,                                            )
                                                   )
                 Defendant.                        )
                                                   )

      MOTION TO COMPEL TRIAL DEPOSITIONS OF MESSRS. BART BAUDLER
                          AND ALAN MCCUNN

           Agrigenetics Inc. d/b/a Mycogen Seeds (“Mycogen”) hereby submits this Motion to

  Compel the Trial Depositions of Mr. Bart Baudler and Mr. Alan McCunn, two employees of

  Pioneer Hi-Bred International, Inc. (“Pioneer”). In support thereof, Mycogen states as follows:

           1.    The trial deposition is an accepted practice in this jurisdiction and justified as a

  means of preserving testimony for trial of persons who lie outside the subpoena power of this

  Court.

           2.    Pioneer opposes Mycogen’s attempt to take the trial depositions of Messrs.

  Baudler and McCunn for no other reason than that Mycogen could have taken discovery

  depositions of them. Ex. 1.1 In opposing these depositions, Pioneer ignores well-established law

  in this jurisdiction. Spangler v. Sears, Roebuck & Co., 138 F.R.D. 122 (S.D. Ind. 1991).




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   Exhibits referenced in this motion are attached to the Memorandum in Support of Mycogen’s
  Motion to Compel Trial Depositions of Messrs. Bart Baudler and Alan McCunn.
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            3.    Mycogen cannot compel the appearance of Messrs. Baudler and McCunn for trial

  in this matter because they lie outside the subpoena power of this Court and so seek their trial

  depositions.

            4.    It would be prejudicial to Mycogen not to allow Mycogen to preserve the

  testimony of these witnesses, both of whom were intimately involved in the PROaccess business

  strategy that Mycogen alleges violates its contract rights. Mycogen should not be prevented from

  preserving the testimony of two witnesses whose presence cannot be compelled and yet who

  played a strategic role in the development and implementation of the PROaccess strategy.

            5.    There is no prejudice to Pioneer if this Court allows Mycogen to take these two

  depositions. There is still ample time before trial and for both parties otherwise to prepare their

  cases.

            WHEREAS, Mycogen respectfully requests that its Motion to Compel the Trial

  Depositions of Messrs. Bart Baudler and Alan McCunn be granted, and for all just and proper

  relief.



                                                      Respectfully submitted,

                                                      /s/ Deborah Pollack-Milgate
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                                                      (formerly d/b/a Mycogen Plant Sciences)




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                                    CERTIFICATE OF SERVICE

            I hereby certify that on October 22, 2010 a copy of the foregoing was filed electronically.

  Notice of this filing will be sent to the following parties by operation of the Court's CM/ECF

  system.


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